      Case 8:22-bk-12070-SC                       Doc 2 Filed 12/07/22 Entered 12/07/22 15:05:36                                                Desc Ch
                                                 7 First Mtg Corp No POC Page 1 of 2
Information to identify the case:
Debtor
                   Aerosysng, Inc.                                                                  EIN 46−5184831
                   Name


United States Bankruptcy Court Central District of California
                                                                                                    Date case filed for chapter 7 12/7/22
Case number: 8:22−bk−12070−SC

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Aerosysng, Inc.

2. All other names used in the dba Aerosystems Engineering
   last 8 years
3. Address                                   1112 W. Barkley Avenue
                                             Orange, CA 92868

4. Debtor's attorney                         Richard G. Heston                                                    Contact phone 949−222−1041
                                             19700 Fairchild Rd Ste 280                                           Email ____________________
    Name and address                         Irvine, CA 92612

5. Bankruptcy trustee                        Jeffrey I Golden (TR)                                                Contact phone (714) 966−1000
                                             Golden Goodrich LLP                                                  Email ____________________
    Name and address                         650 Town Center Drive, Suite 600
                                             Costa Mesa, CA 92626

6. Bankruptcy clerk's office                 411 West Fourth Street, Suite 2030,                                  Hours open:
                                             Santa Ana, CA 92701−4593                                             9:00AM to 4:00 PM
    Documents in this case may be
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone 855−460−9641
    at this office or online at
    https://pacer.uscourts.gov.                                                                                   Dated: 12/7/22

7. Meeting of creditors                      January 11, 2023 at 08:00 AM                                         Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        TELEPHONIC MEETING, FOR
    questioned under oath by the             so, the date will be on the court docket.                            INSTRUCTIONS, CONTACT THE
    trustee and by creditors.                                                                                     TRUSTEE
    Creditors may attend, but are not        The trustee is designated to preside at the meeting of creditors.
    required to do so.                       The case is covered by the chapter 7 blanket bond on file with
                                             the court.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.
                                                                                                                                                                  2/
                                                                                                               For more information, see page 2 >
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     Case 8:22-bk-12070-SC                  Doc 2 Filed 12/07/22 Entered 12/07/22 15:05:36                                             Desc Ch
                                           7 First Mtg Corp No POC Page 2 of 2
Debtor Aerosysng, Inc.                                                                                          Case number 8:22−bk−12070−SC

9. Creditors with a foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                             extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                       any questions about your rights in this case.


10. Failure to File a Statement        IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
    and/or Schedule(s)                 DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition
                                       filing date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of
                                       creditors and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If the
                                       debtor's case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE FOLLOWING
                                       WITHIN 45 DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy Code section
                                       521(i)(4), the court WILL dismiss the case effective on the 46th day after the petition date without further notice:
                                       (1) file all documents required by Bankruptcy Code section 521(a)(1); or (2) file and serve a motion for an order
                                       extending the time to file the documents required by this section.


11. Bankruptcy Fraud and               Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud Complaint
    Abuse                              Coordinator, Office of the United States Trustee, 411 West Fourth Street, Suite 7160, Santa Ana, CA 92701.

                                                                                                       For more information, see page 1 >




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